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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                   01/20/2023

WAYNE BALIGA,
                                                  18 Civ. 11642 (VM)
                           Plaintiff,
                                                  ORDER
                    - against -

LINK MOTION INC., et al.

                           Defendants.


VICTOR MARRERO, United States District Judge.

     On   January    18,    2023,   Defendant   Vincent   Wenyong   Shi

(“Shi”) responded, with accompanying declarations, to the

Court’s Order to Show Cause (Dkt. No. 386) why the Court

should not grant the request made by the court-appointed

receiver, Robert W. Seiden (“Receiver”), to have Shi held

personally liable for funding the Receivership Account. (See

Dkt. Nos. 387-89.) The issue was brought to the Court’s

attention in two letters from the Receiver dated January 9,

2023 (Dkt. No. 382) and January 12, 2023 (Dkt. No. 385). In

those letters, the Receiver represented that it received an

invoice from LKM’s registered agent in the Cayman Islands,

that the Receiver has no funds to pay the invoice for the

annual fee to the Cayman Islands Registrar to maintain Link

Motion Inc.’s (“LKM”) corporate good standing, that LKM has

no funds to transfer to the Receiver to pay the invoice, and

that if the invoice was not paid by January 31, 2023, LKM



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could be struck from the Cayman Islands’ register, rendering

it defunct.

        Having reviewed Shi’s response and the mechanics of

Cayman Islands law on this issue, the Court is persuaded that

LKM is in no immediate jeopardy of being struck from the

register. The Receiver is directed to advise the Court if it

receives    notice    from    the   Cayman    Islands   Registrar    under

Section 171 of the Cayman Islands Companies Act. (See Dkt.

No. 388-1 at 19.)

        The Receiver’s veil piercing claims are raised and will

be addressed in the context of the Receiver’s accounting,

which has previously been referred to, and is pending before,

Magistrate Judge Figueredo. (See Dkt. No. 362.) Accordingly,

the Court will enter an amended order referring the issues

brought to the Court’s attention by the Receiver’s letters

(Dkt. Nos. 382, 385) and Shi’s response (Dkt. No. 389) to

Judge     Figueredo   to     be   addressed    concurrently   with    the

Receiver’s accounting.



SO ORDERED.

Dated:       20 January 2023
             New York, New York



                                              _________________________
                                                   Victor Marrero
                                                      U.S.D.J.


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